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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )               Case No. 8:09CR280
                      Plaintiff,           )
                                           )
              vs.                          )               ORDER TO WITHDRAW
                                           )                   EXHIBITS
                                           )
CURTIS MCCOY                               )
                      Defendant.           )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties are ordered to

withdraw the following exhibits previously submitted in this matter within 14 calendar days

of the date of this order:


              Government Exhibits 1- 3 - Sentencing held 3/17/10



       If counsel fail to withdraw these exhibits as ordered, counsel will be ordered to show

cause why sanctions should not be imposed.

       IT IS SO ORDERED.

       DATED this 22nd day of March, 2010.



                                           s/ Joseph F. Bataillon
                                           Chief United States District Judge




                                   proc\Exhibits\Form-Order to Withdraw Appeal Time Pending.wpd
                                                                                 Approved 02/15/07
